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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Criminal Case No. 06-cr-00217-PSF

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1. MICHAEL A. ROMERO,

       Defendant.


          GOVERNMENT'S NOTICE OF FILING OF EXHIBIT LIST FOR
     MOTIONS HEARING ON WEDNESDAY, SEPTEMBER 6, 2006, AT 9:30 A.M.


       The United States of America, by and through its undersigned Assistant United

States Attorney for the District of Colorado, hereby gives Notice of its filing of its exhibit

list for the above-referenced hearing.

       Respectfully submitted this 5th day of September, 2006,

                                                   TROY A. EID
                                                   UNITED STATES ATTORNEY



                                              By: s/ James R. Boma
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 5th day of September, 2006, I electronically filed the
foregoing GOVERNMENT'S NOTICE OF FILING OF EXHIBIT LIST FOR MOTIONS
HEARING ON WEDNESDAY, SEPTEMBER 6, 2006, AT 9:30 A.M. with the Clerk of
the Court using the CM/ECF system which will send notification of such filing to the
following e-mail address(es):

Harvey Abe Steinberg
law@springer-and-steinberg.com bcruz@springer-and-steinberg.com


                                           s/Lisa Vargas
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